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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    UNITED STATES,                                      CASE NO. CR20-0105-JCC
10                           Plaintiff,                   MINUTE ORDER
11            v.

12    KENNETH WARREN RHULE, and
      KENNETH JOHN RHULE,
13
                             Defendants.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on Defendants’ unopposed motion to continue the
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     pretrial motions deadline (Dkt. No. 62). Having considered the motion and the relevant record
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     and finding good cause, the Court hereby GRANTS the motion.
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            The Government has produced over 341,000 pages of discovery to the Defendants. (See
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     Dkt. No. 62 at ¶ 3.) Defendants now request that the Court extend the pretrial motions deadline
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     to allow defense counsel additional time to review that discovery and for the parties to meet and
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     confer about potentially changing the case schedule. (Id. at ¶¶ 5-6.) Defendants represent that the
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     Government does not oppose the request. (Id. at ¶¶ 7.)
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 1          Accordingly, the Court GRANTS the motion and ORDERS that the pretrial motions

 2   deadline shall be extended until September 17, 2020.

 3

 4          DATED this 14th day of September 2020.

 5                                                          William M. McCool
                                                            Clerk of Court
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                                                            s/Tomas Hernandez
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                                                            Deputy Clerk
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